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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:     CAROLYN BAXTER, Debtor                             Case No. 22-50543-KMS
                                                                        CHAPTER 13

                              MOTION TO DISBURSE FUNDS

       COMES NOW, Debtor, by and through counsel, and moves this Court to direct the
disbursement of funds, and in support thereof, would show the Court as follows:
   1. Debtor commenced this case on May 26, 2022 by filing a voluntary petition for relief
       under Chapter 13 of Title 11 of the United States Bankruptcy Code.
   2. That Creditor, Credit Acceptance, garnished debtor’s income in the 90 days prior to the
       filing of this case.
   3. That upon request, $1,625.00 of the garnishment was returned to The Rollins Law Firm.
   4. That the Rollins Law Firm currently has the $1,625.00 received deposited into its Escrow
       account.
   5. That pursuant to the Fee Agreement entered between debtors and the Rollins Law Firm
       (“Law Firm”), Law Firm shall keep 30% of the recovered garnishment funds – totaling
       $487.50.
   6. That Debtor wishes to keep the remaining $1,137.50.
   7. That Debtor wishes for an order directing The Rollins Law Firm to disburse the funds as
       follows:
           a. $487.50 to The Rollins Law Firm
           b. $1,137.50 to Debtor.
        WHEREFORE, Debtor prays that an order directing the disbursement of funds be entered
and for such additional or alternative relief as may be just and proper.

                                     Respectfully submitted

                                     /s/ Thomas C. Rollins, Jr.
                                     Thomas C. Rollins, Jr. (MS Bar No. 103469)
Of Counsel:
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The Rollins Law Firm, PLLC
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601-500-5533
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                                CERTIFICATE OF SERVICE

        I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above
Motion was forwarded on September 15, 2022, to the creditors, case trustee and U.S. Trustee as
indicated in the “21 day notice” that accompanies this Motion.

                                            /s/ Thomas C. Rollins, Jr.
                                            Thomas C. Rollins, Jr.
